                                           Case 3:17-cv-02191-SK Document 210 Filed 11/17/21 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     SUN GROUP U.S.A. HARMONY CITY,                      Case No. 17-cv-02191-SK
                                         INC.,
                                   8
                                                        Plaintiff,                           ORDER REGARDING LETTER
                                   9
                                                 v.
                                  10                                                         Regarding Docket No. 207
                                         CRRC CORPORATION LTD,
                                  11
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          By no later than November 24, 2021, the Court HEREBY ORDERS the parties to meet

                                  14   and confer by video conference regarding Plaintiff’s requested Hague Convention discovery

                                  15   request and Defendant’s objections. The parties shall then file a joint letter with Plaintiff’s revised

                                  16   requested letter and any outstanding objections if the parties are unable to resolve their dispute.

                                  17   The Court DENIES Plaintiff’s administrative request without prejudice to resubmitting another

                                  18   request for a letter after meeting and conferring with Defendant.

                                  19          IT IS SO ORDERED.

                                  20   Dated: November 17, 2021

                                  21                                                    ______________________________________
                                                                                        SALLIE KIM
                                  22                                                    United States Magistrate Judge
                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
